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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   IN RE: VALSARTAN LOSARTAN AND                      Civil Action No. 1:19-md-02875
   IRBESARTAN PRODUCTS LIABILITY
   LITIGATION                                         PLAINTIFF CECIL BYRD’S
                                                      NOTICE OF VOLUNTARY
                                                      DISMISSAL OF ACTION
                                                      WITHOUT PREJUDICE



          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Cecil Byrd hereby

 dismisses all claims in this action without prejudice. This notice pertains only to Cecil Byrd’s

 claims, and does not affect any other Plaintiff in this action. None of the Defendants have served

 an Answer to Plaintiff Byrd’s Complaint, nor have they served a motion for summary judgment.

 Accordingly, the action (as it pertains to Plaintiff Byrd only) may be dismissed without a court

 order.


 Dated: April 1, 2021                          Respectfully submitted,

                                               BURSOR & FISHER, P.A.

                                               By:     /s/ Andrew J. Obergfell
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